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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                              )   Chapter 11
                                                    )
WOODBRIDGE GROUP OF COMPANIES, LLC,                 )   Case No. 17-12560 (JKS)
et al.,                                             )
                                                    )   (Jointly Administered)
                             Remaining Debtors.     )

                      ORDER SCHEDULING OMNIBUS HEARING DATE


                  IT IS HEREBY ORDERED, that the following omnibus hearing date has been

scheduled in the above-captioned matter:

          DATE                                     TIME

          September 14, 2023                       10:00 a.m. (Eastern Time)




                                                        J. KATE STICKLES
         Dated: August 18th, 2023
                                                        UNITED STATES BANKRUPTCY JUDGE
         Wilmington, Delaware
